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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

 PERSONAL AUDIO, LLC,

       Plaintiff,
                                               C.A. No. 17-cv-1751-CFC
       v.
                                               JURY TRIAL DEMANDED
 GOOGLE LLC,

       Defendant.


PLAINTIFF PERSONAL AUDIO, LLC’S SUPPLEMENTAL DISCLOSURE
 PURSUANT TO STANDING ORDER RE: THIRD-PARTY LITIGATION
                FUNDING ARRANGEMENTS

      Plaintiff Personal Audio, LLC makes the follow disclosure pursuant to the

Standing Order Regarding Third-Party Litigation Funding Arrangements:

      1. Identity, address, and place of formation of third-party litigation funder:

            Medigo Associates, LLC, a New Jersey limited liability company, 33

            Whitehall Street, 16th Floor, New York, New York 10004. Medigo

            Associates, LLC, a New Jersey limited liability company, with a

            principal address at 33 Whitehall Street, 16th Floor, New York, New

            York 10004. Medigo Associates, LLC is managed, directed and

            controlled by LexShares, Inc., through its investment fund, the LexShares

            Marketplace Fund I LLC.




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      LexShares, Inc. is a technology platform that enables investments in legal

      claims. Its principal place of business is 33 Whitehall Street, 16th Floor,

      New York, New York 10004.

      2. Whether any Third-Party Funder's approval is necessary for litigation or

         settlement decisions in the action: No.

      3. A brief description of the nature of the financial interest of the Third-

         Party Funder(s): Due to the unusual length of this case, Personal Audio

         LLC sought funding to cover litigation expenses. On January 23, 2019,

         Third-Party Funder purchased an interest to receive the greater of 2.5

         times the purchase price or 20% of Personal Audio, LLC’s gross

         recovery in this case. In the event that Personal Audio does not prevail,

         Third-Party Funder will receive nothing. In exchange, Personal Audio

         received funds to be deployed for litigation costs and expenses. The

         funds may be used to “reimburse 100% of the reasonable out-of-pocket

         expenses actually incurred by the Attorney of Record,” including expert

         fees, deposition costs and travel expenses. The funds have not been used

         to pay lead counsel’s nor local counsel’s attorney’s fees.




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 Dated: June 17, 2022               Respectfully submitted,

                                    FARNAN LLP

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                                    LLC




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